Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 1 of 40 PageID 25




                                                     6:24-cr-261-CEM-LHP
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 2 of 40 PageID 26
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 3 of 40 PageID 27
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 4 of 40 PageID 28
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 5 of 40 PageID 29
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 6 of 40 PageID 30
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 7 of 40 PageID 31
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 8 of 40 PageID 32
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 9 of 40 PageID 33
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 10 of 40 PageID 34
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 11 of 40 PageID 35
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 12 of 40 PageID 36
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 13 of 40 PageID 37
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 14 of 40 PageID 38
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 15 of 40 PageID 39
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 16 of 40 PageID 40
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 17 of 40 PageID 41
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 18 of 40 PageID 42
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 19 of 40 PageID 43
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 20 of 40 PageID 44
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 21 of 40 PageID 45




                                                     6:24-cr-261-CEM-LHP
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 22 of 40 PageID 46
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 23 of 40 PageID 47




                                                   6:24-cr-261-CEM-LHP
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 24 of 40 PageID 48
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 25 of 40 PageID 49
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 26 of 40 PageID 50
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 27 of 40 PageID 51
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 28 of 40 PageID 52
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 29 of 40 PageID 53
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 30 of 40 PageID 54
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 31 of 40 PageID 55
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 32 of 40 PageID 56
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 33 of 40 PageID 57
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 34 of 40 PageID 58
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 35 of 40 PageID 59
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 36 of 40 PageID 60
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 37 of 40 PageID 61
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 38 of 40 PageID 62
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 39 of 40 PageID 63
Case 6:24-cr-00261-CEM-LHP   Document 19   Filed 11/12/24   Page 40 of 40 PageID 64
